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                             United States District Court
                                       for the
                             Southern District of Florida

  MasTec Renewables Puerto Rico          )
  LLC, Plaintiff,                        )
                                         )
  v.                                     )
                                         ) Civil Action No. 20-20263-Civ-Scola
  Mammoth Energy Services, Inc. and      )
  Cobra Acquisitions, LLC,               )
  Defendants.                            )
                                 Order of Dismissal
        The parties have dismissed this case with prejudice in accordance with
  Federal Rule of Civil Procedure 41(a)(1)(A)(ii). (Joint Stip. of Dismissal with
  Prejudice, ECF No. 135.) The Court reserves jurisdiction to enforce the parties’
  settlement agreement. The Court directs the Clerk to close this case. All
  pending motions, if any, are denied as moot.
        Done and ordered in Miami, Florida, on August 5, 2021.


                                             ________________________________
                                             Robert N. Scola, Jr.
                                             United States District Judge
